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      In The United States Court of Federal Claims
                                           No. 02-25L

                           (Filed: September 10, 2010)
                                   __________
 JICARILLA APACHE NATION,
 formerly JICARILLA APACHE TRIBE,

                              Plaintiff,

                       v.

 THE UNITED STATES,

                             Defendant.

                                           _________

                                            ORDER
                                           _________

       A status conference will be held in this case on Wednesday, October 13, 2010, at 10:00
a.m. (EDT) at the United States Court of Federal Claims, National Courts Building, 717 Madison
Place, N.W., Washington, D.C. 20005. The courtroom location will be posted in the lobby on
the day of the conference.

       IT IS SO ORDERED.



                                                         s/ Francis M. Allegra
                                                         Francis M. Allegra
                                                         Judge
